Case 1:18-cv-01391-RGA Document 404 Filed 10/15/20 Page 1 of 3 PageID #: 21578




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

INGEVITY CORPORATION and                            )
INGEVITY SOUTH CAROLINA, LLC,                       )
                                                    )
                       Plaintiffs,                  )
                                                    )
        v.                                          )    C.A. No. 18-1391 (RGA)
                                                    )
BASF CORPORATION,                                   )
                                                    )
                       Defendant.                   )

             SECOND STIPULATION FOLLOWING PRE-TRIAL CONFERENCE

                WHEREAS, on August 28, 2020, the Court held a pretrial conference in this matter

in which Plaintiffs Ingevity Corporation and Ingevity South Carolina, LLC (collectively,

“Ingevity”) and Defendant BASF Corporation (“BASF”) appeared;

                WHEREAS, the Court has rescheduled the patent jury trial in this matter for

January 4, 2021, and set a status conference for 10:00 a.m. on December 14, 2020;

                WHEREAS, at the pretrial conference the Court directed Ingevity to reduce the

number of asserted claims to eight and BASF to reduce the number of asserted invalidity defenses

to three;

                WHEREAS, the Court issued its Order After Pretrial Conference on August 28,

2020, stating that the Proposed Pretrial Order is “ADOPTED as modified by any discussion at the

pretrial conference,” whereby the Court reiterated in the Order “its direction that the number of

asserted claims and the number of invalidity defenses at trial be reduced” (D.I. 370);

                WHEREAS, on September 14, 2020, Ingevity reduced the number of asserted

claims from 15 to 8;
Case 1:18-cv-01391-RGA Document 404 Filed 10/15/20 Page 2 of 3 PageID #: 21579




                  WHEREAS, on October 2, 2020, BASF narrowed its invalidity defenses to those it

will present at trial;

                  WHEREAS, in a Scheduling Order dated October 1, 2020, the Court stated that

Ingevity “probably doesn’t need eight asserted claims,” that BASF “will have to pare down the

invalidity defenses it plans to present to the jury,” and that “paring down is at least on the radar”

(D.I. 396); and

                  WHEREAS, the parties disagree on how to interpret the Court’s directions

regarding case narrowing and the appropriate timing for doing so, and whether BASF’s October 2,

2020 narrowing complies with the Court’s directions;

                  IT IS HEREBY STIPULATED by the parties, subject to the approval of the Court,

that the parties will request that the Court adjudicate the parties’ dispute via the following

procedure: BASF will file a single-spaced, three-page opening letter on October 15, 2020;

Ingevity will file a single-spaced, three-page responsive letter on October 20, 2020; and BASF

will file a single-spaced, one-page reply letter on October 23, 2020.




                                                 2
Case 1:18-cv-01391-RGA Document 404 Filed 10/15/20 Page 3 of 3 PageID #: 21580




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October 15, 2020


               SO ORDERED this ___ day of October 2020.



                                              UNITED STATES DISTRICT JUDGE




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